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  11
  12                         UNITED STATES DISTRICT COURT
  13                        CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
  14
  15
        CYBOENERGY, INC.,                         Case No.: 2:21-cv-08216-SB-ADS
  16
  17                           Plaintiff,         PLAINTIFF’S FIRST AMENDED
            v.                                    COMPLAINT FOR PATENT
  18                                              INFRINGEMENT
  19 SENSATA TECHNOLOGIES
     HOLDINGS, PLC,                               (35 U.S.C. § 271)
  20
  21                Defendant.
  22
  23
  24             CyboEnergy, Inc. (“CyboEnergy”) files this First Amended Complaint and
  25
        demand for jury trial seeking relief from patent infringement of the claims of U.S.
  26
  27 Patent Nos. 8,786,133 (“the ‘133 patent”) and 9,331,489 (“the ‘489 patent”)
  28


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    1 (referred to as the “Patents-in-Suit”) by Sensata Technologies Holdings, PLC
    2
        (“Sensata”). This First Amended Complaint is filed by Agreement of the Parties.
    3
    4      I. THE PARTIES

    5               1. Plaintiff CyboEnergy is a Delaware Corporation with its principal place
    6
           of business located in Sacramento County, California.
    7
    8          2.      On information and belief, Sensata is company existing under the laws

    9   of England and Wales, with a regular and established place of business located at
  10
        Sensata Technologies, 1461 Lawrence Drive, Suite 1, Thousand Oaks, CA 91320.
  11
  12    On information and belief, SENSATA sells and offers to sell products and services

  13    throughout California, including in this judicial district, and introduces products
  14
        and services that perform infringing methods or processes into the stream of
  15
  16    commerce knowing that they would be sold in California and this judicial district.

  17    Defendant may be served through its registered agent, or wherever they may be
  18
        found.
  19
  20       II. JURISDICTION AND VENUE

  21          3.       This Court has original subject-matter jurisdiction over the entire action
  22
        pursuant to 28 U.S.C. §§ 1331 and 1338(a) because Plaintiff’s claim arises under an
  23
  24 Act of Congress relating to patents, namely, 35 U.S.C. § 271.
  25          4.       This Court has personal jurisdiction over Defendant because: (i)
  26
        Defendant is present within or has minimum contacts within the State of California
  27
  28 and this judicial district; (ii) Defendant has purposefully availed itself of the


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    1 privileges of conducting business in the State of California and in this judicial
    2
        district; and (iii) Plaintiff’s cause of action arises directly from Defendant’s business
    3
    4 contacts and other activities in the State of California and in this judicial district.
    5         5.     Venue is proper in this district under 28 U.S.C. §§ 1391(b) and
    6
        1400(b). Defendant has committed acts of infringement and has a regular and
    7
    8 established place of business in this District. Further, venue is proper because
    9 Defendant conducts substantial business in this forum, directly or through
  10
        intermediaries, including: (i) at least a portion of the infringements alleged herein;
  11
  12 and (ii) regularly doing or soliciting business, engaging in other persistent courses of
  13 conduct and/or deriving substantial revenue from goods and services provided to
  14
        individuals in California and this District.
  15
  16       III.    FACTS ESTABSLISHING PRE-SUIT KNOWLEDGE

  17          6.     On July 14, 2015, Dr. George Cheng of CyboEnergy had a meeting
  18
        with Tom Potter (Sr. Business Director for Mobile Power) and Jal Pradeep
  19
  20 (Engineering Manager) of Sensata at Intersolar Show in San Francisco. Sensata
  21 expressed interest in acquiring CyboEnergy during the meeting and both companies
  22
     decided to move forward to the next steps.
  23
  24       7.    On July 20, 2015, both companies signed a mutual NDA.
  25          8.     On July 23, 2015, based on Sensata’s request, CyboEnergy shipped two
  26
        On-Grid CyboInverters (CI-Mini-1000A), and one On/Off-Grid CyboInverter (CIM-
  27
  28 1200A/N) to Sensata in its Everett, WA office. (CyboEnergy’s CyboInverters have


                                                   -3-
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    1 the key patented features including multiple input channel design as claimed in its
    2
        Patent 8,786,133 and 9,331,489.)
    3
    4         9.     On July 24, 2015, CyboEnergy sent its 2 issued US patents to Sensata,

    5 including patent No 8,786,133.
    6
              10.    On August 26, 2015, CyboEnergy shipped 2 additional On-Grid
    7
    8 CyboInverters that have implemented frequency-based power ramping function to
    9 enable better load balancing with Sensata’s Magnum battery inverters for AC
  10
        coupling.
  11
  12          11.    On September 15, 2015, George Cheng met with Tom Potter, Mike

  13 Dixon (Sales Manager), and Jal Pradeep at Sensata / Magnum booth at Solar Power
  14
        international Show in Anaheim, CA.
  15
  16          12.    On October 2, 2015, Sensata informed CyboEnergy that it would like

  17 to ship the CyboInverters back. Tom Potter also told George Cheng that Sensata is
  18
     too busy to buy another company in a phone call.
  19
  20        13. On January 5, 2016, Sensata issued a news release, “Sensata

  21 Technologies to Introduce Magnum Energy Microinverter at Solar Power PV
  22
     Conference & Expo in February 2016.”
  23
  24      14. These facts establish pre-suit knowledge of the Patents-in-Suit.
  25       IV.      INFRINGEMENT
  26
           A. Infringement of the ‘133 Patent
  27
  28          15.    On July 22, 2014, U.S. Patent No. 8,786,133 (“the ‘133 patent”,


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    1 attached as Exhibit A) entitled “Smart and Scalable Power Inverters” was duly and
    2
        legally issued by the U.S. Patent and Trademark Office. CyboEnergy owns the ‘133
    3
    4 patent by assignment.
    5         16.   The ‘133 patent relates to novel and improved power inverters.
    6
              17.   SENSATA maintains, operates, manufactures, offers for sale and sells
    7
    8 power inverters that infringe one or more claims of the ‘133 patent, including one or
    9 more of claims 1-24, literally or under the doctrine of equivalents. Defendant put the
  10
        inventions claimed by the ‘133 Patent into service (i.e., used them); but for
  11
  12 Defendant’s actions, the claimed-inventions embodiments involving Defendant’s
  13 products and services would never have been put into service. Defendant’s acts
  14
        complained of herein caused those claimed-invention embodiments as a whole to
  15
  16 perform, and Defendant’s procurement of monetary and commercial benefit from it.
  17          18.   Support for the allegations of infringement may be found in the
  18
        following preliminary table:
  19
  20       Independent                           Sensata – Magnum
  21       Claim                                MicroGT 500 Inverters

  22       15. A scalable      Sensata and its affiliate company Magnum
           DC to AC power      manufacturer and sell solar inverters that are used in
  23       inversion system    DC to AC power conversion systems. The infringing
  24       for providing AC    Sensata-Magnum inverter is its MicroGT 500
           power to a power    Microinverter as shown below. [1]
  25       grid from a         On page 1 of [2], it states that the MicroGT 500 inverter
  26       plurality of        is used in utility-interactive grid-tied applications, which
           individual DC       means the DC to AC power conversion system enabled
  27       power sources       by MicroGT 500 Microinverters provides AC power to
  28       each having a


                                                -5-
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    1     DC power output     the power grid.
    2     port, comprising:   The product has been on the market since Sept 2016. [4]
                              [5]
    3
    4
    5
    6
    7
    8
    9                         A DC to AC power inversion system enabled by
  10                          MicroGT 500 is scalable as described on its MicroGT 500
                              Microinverter data sheet [1] as shown below, where a
  11                          plurality of individual DC power sources (solar panels)
  12                          each having a DC power output port.
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24      a) a plurality of   A DC to AC power inversion system enabled by
  25      power inverters,    Sensata-Magnum GT500 inverters has a plurality of
          each of said        power inverters as shown in Figure 1 of Ref [2] on
  26      power inverters     page 1.
  27      including a
          single DC-AC
  28


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    1     inverter, at least
    2     two DC power
          input ports
    3     coupled to the
    4     single DC-AC
          inverter, an AC
    5     power input port,
    6     and an AC
          power output
    7     port coupled to
    8     the single DC-
          AC inverter,
    9     each of said DC
  10      power input
          ports having one
  11      DC power
                               Figure 2 on page 2 of [2] shows that each MicroGT 500
  12      source connected
                               inverter has a single DC-AC inverter, at least two DC
          thereto;
  13                           power input ports coupled to the single DC-AC inverter,
                               an AC input port, and an AC power output port coupled to
  14                           the single DC-AC inverter, each of said DC power input
  15                           ports having one DC power source connected thereto. See
                               blue marked words.
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
          b) said AC           Figure 8 and 9 of Ref [2] on page 7 describe the steps
  26      power output         of “Connecting the MicroGT inverters using AC
  27      port of each         Connectors” in a daisy-chain:
          power inverter       “Plug the AC Connector cable’s female end (other end
  28


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    1     being connected      hardwired to junction box – Figure 4) into the male AC
    2     in a daisy chain     connector of the first MicroGT. Twist the connector’s
          to the AC power      collar (until you hear a “click”) to lock the two
    3     input port of the    together.
    4     next power           2. Plugthe female AC connector of the first MicroGT into
          inverter, except     the male AC connector of the next microinverter (Figure
    5     for the AC           8). Twist to lock. Repeat the process for the remainder of
    6     power input port     the microinverters installed in your system to form a
          of the first power   continuous AC branch circuit.
    7     inverter being
          left open, and the   3. Install
                                        a female protective end cap (ME-MGT-
    8                          ENDCAP-F) on the open female AC connector of the last
          AC power output
    9     port of the last     microinverter in the AC branch circuit (Figure 9).”
  10      power inverter
          being connected
  11      to a power
  12      service panel of
          the power grid;
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
        c) whereby said       On page 1 of Ref [2], it states: ”Figure 1 is an example
  26
        system is             of a basic system installation diagram using multiple
  27    incrementally         MicroGT 500 microinverters”, which implies that the
        scalable by adding or system is incrementally scalable by adding or
  28


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    1     subtracting DC        subtracting DC power sources and inverters. (See
    2     power sources and     Figure 1 above).
          daisy-chained
    3     inverters.
    4
    5 These allegations of infringement are preliminary and are therefore subject to
    6
      change.
    7
    8         19.   SENSATA has and continues to induce infringement. SENSATA has
   9 actively encouraged or instructed others (e.g., its customers and/or the customers of
  10
     its related companies), and continues to do so, on how to use and construct power
  11
  12 inverters such as to cause infringement of one or more of claims 1–24 of the ’133
  13 patent, literally or under the doctrine of equivalents. Moreover, SENSATA has
  14
     known of the ’133 patent as established in Section (III) of this First Amended
  15
  16 Complaint. For clarity, direct infringement is previously alleged in this complaint.
  17
              20.   SENSATA has and continues to contributorily infringe. SENSATA has
  18
        actively encouraged or instructed others (e.g., its customers and/or the customers of
  19
  20 its related companies), and continues to do so, on how to use its products and
  21
        services (e.g., power inverters) and related services that provide power inverters
  22
        such as to cause infringement of one or more of claims 1–24 of the ’133 patent,
  23
  24 literally or under the doctrine of equivalents. Further, there are no substantial
  25
        noninfringing uses for Defendant’s products and services. Moreover, SENSATA
  26
        has known of the ’133 patent as established in Section (III) of this First Amended
  27
  28 Complaint. For clarity, direct infringement is previously alleged in this complaint.


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    1         21.   SENSATA has caused and will continue to cause CyboEnergy damage
    2
        by direct and indirect infringement of (including inducing infringement of) the
    3
    4 claims of the ’133 patent.
    5      B. Infringement of the ‘489 Patent
    6
              22.   On May 3, 2016, U.S. Patent No. 9,331,489 (“the ‘489 patent”,
    7
    8 attached as Exhibit B) entitled “Maximizing Power Production at Low Sunlight by
    9 Solar Power Mini-Inverters” was duly and legally issued by the U.S. Patent and
   10
        Trademark Office. CyboEnergy owns the ‘489 patent by assignment.
   11
   12         23.   The ‘489 patent relates to novel and improved power inverters.

   13         24.   SENSATA maintains, operates, manufactures, offers for sale and sells
   14
        power inverters that infringe one or more claims of the ‘489 patent, including one or
   15
   16 more of claims 1-16, literally or under the doctrine of equivalents. Defendant put the
   17 inventions claimed by the ‘489 Patent into service (i.e., used them); but for
   18
      Defendant’s actions, the claimed-inventions embodiments involving Defendant’s
   19
   20 products and services would never have been put into service. Defendant’s acts
   21 complained of herein caused those claimed-invention embodiments as a whole to
   22
      perform, and Defendant’s procurement of monetary and commercial benefit from it.
   23
   24       25. Support for the allegations of infringement may be found in the
   25 following preliminary table:
   26
   27
   28


                                                -10-
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    1
           Independent                    Sensata – Magnum MicroGT
    2      Claim                                 500 Inverters
    3    14. An m-         Sensata and its affiliate company Magnum manufacturer
         channel solar     and sell solar power inverters that are used in DC to AC
    4
         power inverter,   power conversion systems. The infringing Sensata-
    5    comprising:       Magnum inverter is its MicroGT 500 Microinverter as
    6    a) at least two   shown below. [1]
         DC input          The product has been on the market since Sept 2016. [4] [5]
    7
         channels, each
    8    of which
         comprises a
    9
         DC-DC boost
   10    converter,
         measurement
   11
         circuits,
   12    supporting
         circuits, and     Figure 2 on page 2 of Ref [2] shows that each MicroGT 500
   13                      inverter has at least two DC input channels (DC input ports),
         cables and
   14    connectors to     cables and connectors to connect to a solar panel. See blue
         connect to a      marked words.
   15
         solar panel;
   16
   17
   18
   19
   20
   21
   22
   23
   24
                           Since each DC input channel in the MicroGT 500 inverter
   25                      needs to receive DC power from the solar panel, it must
                           include a DC converter or DC boost converter, measurement
   26
                           circuits, and supporting circuits.
   27
   28


                                              -11-
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    1    b) an AC power      Each MicroGT inverter has an AC power output port
    2    output port         arranged to supply AC power to an electric grid as shown in
         arranged to         Figure 1 of Ref [2] on page 1.
    3
         supply AC
    4    power to an
         electric grid;
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15    b) said AC          Figure 8 and 9 of Ref [2] on page 7 describe the steps of
         power output        “Connecting the MicroGT inverters using AC Connectors”
   16    port of each        in a daisy-chain:
   17    power inverter      “Plug the AC Connector cable’s female end (other end
         being connected     hardwired to junction box – Figure 4) into the male AC
   18    in a daisy chain    connector of the first MicroGT. Twist the connector’s collar
   19    to the AC           (until you hear a “click”) to lock the two together.
         power input
   20    port of the next    4. Plugthe female AC connector of the first MicroGT into the
         power inverter,     male AC connector of the next microinverter (Figure 8). Twist
   21
         except for the      to lock. Repeat the process for the remainder of the
   22    AC power input      microinverters installed in your system to form a continuous
         port of the first   AC branch circuit.
   23
         power inverter      5. Install
                                     a female protective end cap (ME-MGT-ENDCAP-F)
   24    being left open,    on the open female AC connector of the last microinverter in
   25    and the AC          the AC branch circuit (Figure 9).”
         power output
   26    port of the last
   27    power inverter
         being connected
   28


                                                -12-
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    1    to a power
    2    service panel of
         the power grid;
    3
    4
    5
    6
    7
    8
    9
   10
   11
   12
   13
   14
   15
   16   c) a DC power       Since the MicroGT 500 inverter has one AC output port to
        combiner
   17   connected to        send the power to the grid, it must have a DC power combiner
        said DC-DC          to be connected to the DC-DC boost converters for combining
   18   boost converters    the DC output from all DC-DC boost converters.
        for combining
   19   the DC output
        from all DC-DC
   20   boost
        converters;
   21
   22
         d) a digital       From Ref [1], the MicroGT 500 Microinverter has features
   23    microcontroller    such as channel level MPPT (Maximum Power Point Tracking)
   24    connected to       to deal with solar panel partial shading problems. This is one of
         said DC-DC         the key benefits of the invention of multiple input channel
   25    boost              design disclosed in the US patents 8,786,133 and 9,331,489.
   26    converters,        In order to perform channel level MPPT, a digital
         arranged to        microcontroller is a necessary component. The microcontroller
   27    measure input      will have to connect to the DC-DC boost converters, arranged
   28    voltage and        to measure input voltage and current to calculate DC input


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    1    current to         power for each channel in order to achieve the MPPT
         calculate DC       (Maximum Power Point Tracking).
    2
         input power for
    3    each channel,
    4    and constructed
         to run the
    5    power inverter
    6    in normal or
         low power
    7    mode based on
    8    calculated DC
         input power;
    9
   10
   11
   12    e) a DC power      Since the MicroGT microinverter requires DC power to run its
         supply             electronics, it will have to include a DC power supply
   13
         connected to all   connected to all input channels through the DC power
   14    input channels     combiner, arranged to supply DC power to electronic circuits
         through the DC     of the MicroGT inverter.
   15
         power
   16    combiner,
         arranged to
   17
         supply DC
   18    power to
         electronic
   19
         circuits of the
   20    power inverter,
         and configured
   21
         to take DC
   22    power from a
   23    dedicated input
         channel and its
   24    connected solar
   25    panel when the
         digital
   26    microcontroller
   27    detects that the
         calculated input
   28    power is below


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    1    a pre-
         determined
    2
         value.
    3
        References
    4
    5        [1] Sensata Magnum MicroGT 500 Datasheet.
    6
             https://www.magnum-dimensions.com/sites/default/files/MagDocs/MicroGT-
    7
    8        500_datasheet_64- 5019_revD-web.pdf

    9        [2] Sensata Magnum MicroGT 500 Owners Manual
   10
             https://www.magnum-dimensions.com/sites/default/files/MagDocs/64-
   11
   12        0063%20F%20Owner%20Manual%2C%20CSW%2012V%20Series.pdf

   13
   14
             [3] Sensata Magnum MicroGT 500 Quick Design Guide
   15
   16        https://www.magnum-dimensions.com/sites/default/files/64-0085-

   17        Q%20A%20Owner%20Manual%2C%20ME-MGT500.pdf
   18
   19
   20        [4] Sensata News Release, “Sensata Technologies to Release for Sale its

   21          Magnum Energy Microinverter and Several Key New Products at Solar
   22
               Power International in September 2016”.
   23
   24        https://www.magnum-dimensions.com/news/201609/sensata-technologies-

   25        release-sale-its- magnum-energy-microinverter-and-several-key-new
   26
             [5] Magnum Inverters on Sensata Website:
   27
   28        https://www.magnum-dimensions.com/magnum-inverters


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    1 These allegations of infringement are preliminary and are therefore subject to
    2
        change.
    3
    4         26.   SENSATA has and continues to induce infringement. SENSATA has

    5 actively encouraged or instructed others (e.g., its customers and/or the customers of
    6
        its related companies), and continues to do so, on how to use and construct power
    7
    8 inverters such as to cause infringement of one or more of claims 1–16 of the ’489
    9 patent, literally or under the doctrine of equivalents. Moreover, SENSATA has
   10
        known of the ’489 patent as established in Section (III) of this First Amended
   11
   12 Complaint. For clarity, direct infringement is previously alleged in this complaint.
   13         27.   SENSATA has and continues to contributorily infringe. SENSATA has
   14
        actively encouraged or instructed others (e.g., its customers and/or the customers of
   15
   16 its related companies), and continues to do so, on how to use its products and
   17 services (e.g., power inverters) and related services that provide power inverters
   18
      such as to cause infringement of one or more of claims 1–16 of the ’489 patent,
   19
   20 literally or under the doctrine of equivalents. Further, there are no substantial
   21 noninfringing uses for Defendant’s products and services. Moreover, SENSATA
   22
      has known of the ’489 patent as established in Section (III) of this First Amended
   23
   24 Complaint. For clarity, direct infringement is previously alleged in this complaint.
   25         28.   SENSATA has caused and will continue to cause CyboEnergy damage
   26
        by direct and indirect infringement of (including inducing infringement of) the
   27
   28 claims of the ’489 patent.


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    1     V. PRAYER FOR RELIEF
    2
        WHEREFORE, CyboEnergy prays for relief as follows:
    3
    4       a.     enter judgment that Defendant has infringed the claims of the Patents-

    5              in-Suit;
    6
            b.     award CyboEnergy damages in an amount sufficient to compensate it
    7
    8              for Defendant’s infringement of the Patents-in-Suit in an amount no

    9              less than a reasonable royalty or lost profits, together with pre-
   10
                   judgment and post-judgment interest and costs under 35 U.S.C. § 284;
   11
   12       c.     award CyboEnergy an accounting for acts of infringement not

   13              presented at trial and an award by the Court of additional damage for
   14
                   any such acts of infringement;
   15
   16       d.     declare this case to be “exceptional” under 35 U.S.C. § 285 and award

   17              CyboEnergy its attorneys’ fees, expenses, and costs incurred in this
   18
                   action;
   19
   20       e.     declare Defendant’s infringement to be willful and treble the damages,

   21              including attorneys’ fees, expenses, and costs incurred in this action
   22
                   and an increase in the damage award pursuant to 35 U.S.C. § 284;
   23
   24       f.     a decree addressing future infringement that either (i) awards a
   25              permanent injunction enjoining Defendant and its agents, servants,
   26
                   employees, affiliates, divisions, and subsidiaries, and those in
   27
   28              association with Defendant from infringing the claims of the Patents-in-


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    1               Suit, or (ii) awards damages for future infringement in lieu of an
    2
                    injunction in an amount consistent with the fact that for future
    3
    4               infringement the Defendant will be an adjudicated infringer of a valid

    5               patent, and trebles that amount in view of the fact that the future
    6
                    infringement will be willful as a matter of law; and
    7
    8       g.      award CyboEnergy such other and further relief as this Court deems

    9               just and proper.
   10
        Dated: February 1, 2022           Respectfully submitted,
   11
   12                                     MAHAMEDI IP LAW LLP

   13                                     /s/ Susan S.Q. Kalra
   14                                     Susan S.Q. Kalra, CA SBN 167940
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   19                                     RAMEY & SCHWALLER LLP
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                                          /s/ William P. Ramey, III
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   26                                      Attorneys for Plaintiff
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   28


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    1                           DEMAND FOR JURY TRIAL
    2
            CyboEnergy hereby requests a trial by jury on issues so triable by right.
    3
    4 Dated: February 1, 2022             Respectfully submitted,

    5                                    MAHAMEDI IP LAW LLP
    6
                                         /s/ Susan S.Q. Kalra
    7                                    Susan S.Q. Kalra, CA SBN 167940
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   14                                    /s/ William P. Ramey, III
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   19                                     Attorneys for Plaintiff
   20                                     CyboEnergy, Inc.

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